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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 American Hospital Association, et al.,

                     Plaintiffs,

                        –v–

 Xavier Becerra, Secretary of Health and Human
 Services, et al.,                                  Case No. 1:18-cv-2084 (RC)

                   Defendants.




          RESPONSE TO PLAINTIFFS’ MOTION TO EXPEDITE BRIEFING
         SCHEDULE AND CONSIDERATION OF PLAINTIFFS’ MOTION TO
          VACATE THE UNLAWFUL PORTION OF THE 2022 OPPS RULE

       Defendants respectfully submit this response to Plaintiffs’ Motion to Expedite Briefing

Schedule and Consideration of Plaintiffs’ Motion to Vacate the Unlawful Portion of the 2022

OPPS Rule, ECF No. 68. That Motion seeks an order requiring Defendants to respond to

Plaintiffs’ Motion to Vacate the Unlawful Portion of the 2022 OPPS Rule, ECF No. 67, within

seven days, i.e., by August 10, 2022.

       At the outset, Defendants disagree that there is “good cause” to expedite this matter under

28 U.S.C. § 1657(a). To establish good cause, a litigant must “persuasively assert that there is a

special public or private interest in expeditious treatment of their case.” Free Sacred Trinity

Church v. IRS, No. 21-cv-1756, 2022 U.S. Dist. LEXIS 59251, at *10 (S.D. Cal. Mar. 30, 2022).

At bottom, Plaintiffs here want expedition so that they can be compensated more quickly. Mot. at

2. But that is true of virtually every plaintiff in every case. If a desire for quick relief were

sufficient to establish good cause, then expedited proceedings would be the rule rather than the

exception. See Berenson v. Adm’rs of the Tulane Univ. Educ. Fund, No. 17-329, 2017 U.S. Dist.
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LEXIS 128655, at *4 (E.D. La. Aug. 14, 2017) (“Many litigants have compelling reasons to desire

a speedy remedy, however, and the Court’s schedule does not permit expedited consideration of

all these cases.”). Moreover, the large sums of money that are at issue in this case and the potential

impact on the administration of the Medicare program “militate in favor of caution and

deliberation, not haste.” Comm. on Ways & Means v. U.S. Dep’t of the Treasury, No. 19-cv-01974,

2019 U.S. Dist. LEXIS 147260, at *4 (D.D.C. Aug. 29, 2019) (denying motion to expedite given

the weighty issues in the case and potential ramifications).

       Although Plaintiffs have failed to establish good cause to expedite briefing, Defendants

nevertheless propose to file their opposition to Plaintiffs’ Motion to Vacate by Friday, August 12,

2022. That is two days after Plaintiffs’ proposed deadline and five days before the deadline set by

the local rules. The August 12 deadline is necessary to allow sufficient time for review of

Defendants’ opposition within the Department of Justice and at the client agency. Defendants’

counsel conferred with Plaintiffs’ counsel on August 5, 2022, and Plaintiffs’ counsel stated that

Plaintiffs agree to a deadline of August 12, 2022 for Defendants’ opposition.

       Defendants do not take a position on Plaintiffs’ further request that the Court expedite its

consideration of the Motion to Vacate, but instead defer to the Court’s discretion on that issue.

See Free Sacred Trinity Church, 2022 U.S. Dist. LEXIS 59251, at *10 (“District courts have

discretion to determine the need for expedited proceedings on a case-by-case basis.”).



                                       Respectfully submitted,

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